          Case 1:21-cv-00279-LY Document 14 Filed 04/23/21 Page 1 of 12



                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                      AUSTIN DIVISION

J.R., a minor, by his parents                   §
and next friends ANALISA and                    §
JOE R.;                                         §
                                                §
D.J., a minor, by his parents                   §
and next friends LAURIE and                     §
DAMON J.;                                       §
                                                §
A.T., a minor, by her parents                   §
and next friends ANDREA and                     §
CLINT T.;                                       §
                                                §
G.S., a minor, by her parents                   §
and next friends JARIN and                      §
SEAN S.;                                        §
                                                §
A.S., a minor, by his parent                    §
and next friend MARIA N.; and                   §
                                                §
Disability Rights Texas,                        §
                                                §
                      Plaintiffs,               §
                                                §
v.                                              §    CIVIL ACTION NO.: 1:21-cv-00279
                                                §
AUSTIN INDEPENDENT                              §
SCHOOL DISTRICT,                                §
                                                §
                      Defendant.                §


               PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION



        Plaintiffs move for a preliminary injunction to enjoin Defendant Austin Independent School

District from promulgating and implementing policies, procedures, and practices in violation of the

Individuals with Disabilities Education Act, 20 U.S.C.A. § 1400 et seq. (“the IDEA”), and Section

504 of the Rehabilitation Act of 1973, 29 U.S.C. §794 (“Section 504”). Specifically, Austin ISD



8093352v1/017135
          Case 1:21-cv-00279-LY Document 14 Filed 04/23/21 Page 2 of 12



should be enjoined from continuing to violate the legally mandated timelines for the evaluation of

students with suspected disabilities for special education services.

        In order to meet these deadlines, an injunction should be issued requiring Austin ISD to

comply with the IDEA and Section 504 by (1) providing expedited special education evaluations

for all children with currently delayed assessments utilizing existing staff, all qualified contractors,

and all qualified evaluators that conduct independent educational evaluations (IEEs) at the expense

of Austin ISD; (2) directing Austin ISD’s Admission, Review, and Dismissal Committees (“ARD

Committees”) to determine that outside psychological assessments finding students eligible for

special education services must be accepted for purposes of beginning services until such time that

Austin ISD is able to conduct its own assessment; (3) continuing the contracts of school

psychologists employed or contracted by Austin ISD through the summer as needed to work on

overdue evaluations; and (4) holding expedited ARD Committee meetings to review initial

evaluations and make eligibility determinations.

                                       I.      Legal Standard

        To receive injunctive relief, Plaintiffs must show (a) a substantial likelihood of prevailing

on the merits; (2) a substantial threat of irreparable harm that will result if the injunction is not

granted; (3) the threatened injury outweighs any threatened harm to the defendant; and (4) the

granting of the requested injunction is in the public interest.” Winter v. Nat. Res. Def. Council, Inc.,

555 U.S. 7, 20 (2008).

               II.     Plaintiffs Meet the Standards for a Preliminary Injunction

        Plaintiffs—which include five children, by and through their parents and next friends, and

Disability Rights Texas, the federal protection and advocacy system for Texas on behalf of disabled

Texas—meet the grounds required for injunctive relief against Austin ISD.

        A. There is a Substantial Likelihood that Plaintiffs will Succeed on the Merits

Plaintiffs’ Motion for Preliminary Injunction                                                        2
8093352v1/017135
          Case 1:21-cv-00279-LY Document 14 Filed 04/23/21 Page 3 of 12



        Plaintiffs are likely to succeed on the merits of their claims at trial. Evaluations are the

foundation of providing students with disabilities the free appropriate public education (FAPE) to

which they are entitled under the Individuals with Disabilities Education Act (IDEA). 20 U.S.C.A.

§ 1400 et seq. Evaluations are used to identify children with disabilities, determine their eligibility

for special education, and provide key information to the team that develops the educational plan,

including determining services, for each student receiving special education.

        Federal law requires Austin ISD to perform an initial evaluation within 60 days of receiving

parental consent for the evaluation. 20 U.S.C. § 1414 (a)(1)(C)(I); 34 C.F.R. § 300.301(1)(i). 1 After

the evaluation is completed, an ARD committee must meet within 30 calendar days to review the

evaluation and determine eligibility for special education. 19 TEX. ADMIN. CODE § 89.1011(d). 2 On

information and belief, there are currently at least 800 children zoned to Austin ISD for which Austin

ISD has failed to perform initial evaluations within this timeframe, including plaintiffs J.R., D.J.,

A.T., and G.S:

    •   D.J. is a six-year-old boy with a sensory processing disorder and suspected ADHD. D.J.’s
        parents signed an evaluation consent form on January 15, 2021. The evaluations should have
        been completed by March 30, 2021. See Exhibit 1 (Declaration of Laurie F.).

    •   A.T. is a five-year-old girl with suspected anxiety, obsessive-compulsive disorder,
        oppositional defiant disorder, and selective mutism. A.T.’s parents signed an evaluation
        consent form on April 23, 2020. The evaluations should have been completed by October 7,


1
 Texas state law requires that a district respond to a parent’s written request for an initial special
education evaluation within 15 school days, by providing (1) consent for evaluation, or (2) a prior
written notice explaining why district is not agreeing to evaluate. 19 TEX. ADMIN. CODE §
89.1011(b). Once consent is provided, the initial special education evaluations is to be completed
within 45 school days. 19 TEX. ADMIN. CODE § 89.1011(c). If consent is provided with 35 school
days remaining in the school year, the initial evaluation must be completed by June 30. 19 TEX.
ADMIN. CODE § 89.1011(e).
2
  If the 30th day falls in the summer, the ARD committee has until the first day of the next school year to
finalize an eligibility determination and education plan unless the evaluation indicates the student needs
extended school year services. 19 TEX. ADMIN. CODE § 89.1011(d). If the evaluation is completed
in the summer pursuant to § 89.1011(e), the ARD committee must meet no later than the 15th
school day of the following year.

Plaintiffs’ Motion for Preliminary Injunction                                                            3
8093352v1/017135
           Case 1:21-cv-00279-LY Document 14 Filed 04/23/21 Page 4 of 12



        2021. See Exhibit 2 (Declaration of Andrea T.).

    •   J.R. is a four-year-old boy with autism and expressive language disorder. J.R.’s parents
        signed an evaluation consent form on November 10, 2020. The evaluations should have been
        completed by February 4, 2021. See Exhibit 3 (Declaration of Analisa R.).

    •   G.S. is a six-year-old girl with suspected speech disorder and dyslexia. G.S.’s parents signed
        an evaluation consent form on November 11, 2020. The evaluations should have been
        completed by February 5, 2021. See Exhibit 4 (Declaration of Jarin S.). 3

        Failure to perform an initial evaluation means that these children are not receiving special

education services to which they are legally entitled as part of their FAPE under the IDEA. This

can have a wide range of adverse consequences: Austin ISD students with disabilities are not

receiving special education services—such as plaintiffs D.J. and A.T.; students with disabilities

attending private schools are not receiving services through Austin ISD—such as plaintiff G.S.; and

children who are only entitled to attend school if they are special education-eligible are not receiving

any services from Austin ISD—such as plaintiff J.R. At no fault of their own, all of these children

have suffered, and continue to suffer, from the lack of services.

        Austin ISD created this problem and is failing to fix it. Amy Leigh Shatila, a former Austin

ISD lead evaluation supervisor, states that significant delays in the evaluation system began in the

spring of 2019 when a new special education director was hired. Exhibit 6 (Shatila Declaration) at

¶¶4, 10-11. 4 Prior to 2019, evaluators were given the opportunity to work over the summer to keep

up with evaluation requests and begin each school year with no backlog. Id. at ¶ 11. This changed

in the summer of 2019; Austin ISD did not provide summer contracts, and Ms. Shatila began the

fall of 2019 with numerous evaluations that were overdue and others that required immediate

attention. Id. Ms. Shatila was given many additional responsibilities, including supervising other



3
  A licensed specialist in school psychology employed by Austin ISD until April 15, 2021, was repeatedly
told that there were 950 past due evaluations. See Exhibit 5 at ¶¶ 18-21 (Declaration of Jennifer Covington).
4
  Ms. Shatila worked in special education in Austin ISD for 11 years, including three years as a licensed
specialist in school psychology. Id. at ¶1.

Plaintiffs’ Motion for Preliminary Injunction                                                              4
8093352v1/017135
          Case 1:21-cv-00279-LY Document 14 Filed 04/23/21 Page 5 of 12



evaluation personnel, and her workload became unsustainable. Id. at ¶¶ 12-13. As a supervisor, she

also witnessed administrators requesting evaluation personnel to change the dates on paperwork so

that it appeared as if an evaluation had been completed by the due date. Id. at ¶ 17. Ms. Shatila and

other lead school psychologists filed a grievance with Austin ISD, hoping to work with the district

to address the systemic issues, but no meaningful changes were made. Id. at ¶¶ 18-20. Ms. Shatila

not only fell behind on her evaluations, she was also unable to provide other services to her students,

like counseling. Id. at ¶ 22. Ms. Shatila resigned in December 2019, telling Austin ISD’s Human

Resources that she resigned because of “serious concerns” about her licensure and her inability to

fulfill her responsibilities in an “ethical manner.” Id. at ¶ 23. Ms. Shatila intended to spend her entire

career in Austin ISD serving children with disabilities, and she would return to the district if

systemic changes were made so that evaluators could ethically perform their roles. Id. at ¶¶ 2, 29.

        Dr. Jessica O’Bleness, Director of Clinical Training for the University of Texas’ graduate

School Psychology program, received concerns from her students placed in Austin ISD during the

2019-2020 school year about the workload of their supervisors and lack of support from the district

as to best practices. Exh. 7 (O’Bleness Declaration) at ¶ 5. 5 Additionally, Dr. O’Bleness noted that

LSSPs were leaving their employment with Austin ISD. Id. at ¶ 6. Dr. O’Bleness made the decision

to no longer place graduate students in Austin ISD for the 2020-21 school year. Id. at ¶ 5.

        Despite attention from both the media and TEA, Austin ISD is failing to take the necessary

steps to address the evaluation crisis. Within the last month, Catherine Huntley, an evaluation

professional who came out of retirement due to the dire need for evaluators in Austin ISD, resigned

her role as a contract evaluator because she “could no longer tolerate the unethical and abusive



5
 Dr. O’Bleness, Assistant Professor of Practice and Director of Clinical Training MA/SSP at the University
of Texas, has a Ph.D. in Psychological and Quantitative Foundations with a specialty in School Psychology.
She is a LSSP who previously worked in Austin ISD. Id. at ¶¶1-2.

Plaintiffs’ Motion for Preliminary Injunction                                                           5
8093352v1/017135
           Case 1:21-cv-00279-LY Document 14 Filed 04/23/21 Page 6 of 12



practices in the Austin ISD special education department ….” Exh. 8 (Huntley Declaration) at ¶¶ 1-

3. According to Ms. Huntley, Austin ISD put unrealistic demands on the number of evaluations to

be completed, refused repeated requests for overtime pay, and asked the evaluator to perform duties

that were beyond her role and credentials as a diagnostician. Id. at ¶¶5, 6, 8-9. Ms. Huntley worked

full time for Austin ISD from August 2020 through March 2021, and attended many ARDs for

students impacted by delayed evaluations. Id. at ¶ 3. She does not recall a single time where Austin

ISD raised compensatory education. Id. at ¶ 11.

        Austin ISD is required to comply with the timelines set by federal and state law with respect

to the named Plaintiff children and hundreds of other students whom Disability Rights Texas

represents and for whom it advocates. There are no meaningful defenses or excuses for failure to

comply with the statutory timelines. 6

        B. Plaintiffs will Suffer an Irreparable Injury

        The Plaintiffs will likely suffer an irreparable injury without relief. The children who have

not received a timely initial evaluation are not receiving special education services, and some are

not receiving any educational services at all. This injury is current and continuing—every day that

these children do not receive the services to which they are legally entitled constitutes an actual

injury. These injuries will be on-going until the Court rules on the merits of this case. See D.L. v.

District of Columbia, 194 F.Supp. 3d 30, 97 (D.D.C. 2916) (finding that the District of Columbia’s

failure to identify and provide special education services to preschool-aged children resulted in

“irreparable injury” and “substantial harm by being denied educational opportunities that are



6
  See, e.g., https://tea.texas.gov/sites/default/files/covid/covid-19_evaluation_guidance_april_2.pdf (TEA’s
Evaluation Considerations during COVID-19, stating that “[a]s of the publication of this document, there
has been no waiver of federal timelines related to special education compliance. Therefore, evaluation
timelines will continue to apply for compliance reporting purposes” and providing school districts with
guidance on performing portions of evaluations remotely during COVID-19).


Plaintiffs’ Motion for Preliminary Injunction                                                             6
8093352v1/017135
          Case 1:21-cv-00279-LY Document 14 Filed 04/23/21 Page 7 of 12



essential to their development”).

        As explained by Dr. Janette Hahn, a student is not receiving FAPE if a district has failed to

do a timely evaluation and is not providing special education services to students with disabilities.

See Exh. 9 (Hahn Declaration) at ¶ 3. 7 The failure to provide services impacts multiple areas of

development, including academic and behavioral, and can lead to secondary issues to include

anxiety, depression, embarrassment, and a dislike of school. Id. at ¶ 3. Moreover, the lack of services

can have a range of impacts on children depending on the disability of the child. Id. at ¶¶ 6, 8, 12.

For a student with autism, like J.R., providing services that address language and behavior issues at

an early age is critical. Failure to address communications skills early can lead to more significant

behavioral issues such as aggression and self-injury. Id. at ¶ 6, 10. Research shows that behaviors

can often be significantly reduced and even eliminated with early intervention. Id. For students with

disabilities that affect their behavior, like A.T., evaluations are critical to developing a plan to

address behavior. Without a plan, behaviors will increase and may manifest into more significant

behavioral issues, which may also affect their ability to learn. Id. at ¶¶ 11-12. As noted by Dr.

O’Bleness, students with behavioral difficulties face an increased risk of disciplinary action, and the

harmful consequences of disciplinary removal cannot be reversed. Exh. 6 at ¶ 15.

         The Plaintiffs’ injuries cannot be prevented or fully rectified by a final judgment following

trial. These injuries are not accurately measurable and cannot be compensated in damages, and the

Plaintiffs do not request damages for their injuries. As is typical in the IDEA context, Plaintiffs

request compensatory special education services for the time that they should have been receiving

appropriate services. But the compensatory special education services are not an adequate substitute


7
 Dr. Hahn has over 30 years of experience as an educator, to include service as a classroom
special education teacher, diagnostician, and administrator. Id. at ¶1. She has a B.S. in
Education/Special Education, a Master of Education/Special Education, and a Doctorate in
Education Leadership. Exhibit A to Hahn Dec.

Plaintiffs’ Motion for Preliminary Injunction                                                       7
8093352v1/017135
          Case 1:21-cv-00279-LY Document 14 Filed 04/23/21 Page 8 of 12



for children receiving services at the time that they should have been provided. According to Dr.

Hahn, “there is not enough time in the day to catch students up if not identified early.” Exh. 8 at ¶

4. Teachers will continue to move forward with academic lessons and “struggling students who have

been identified late continue to lose ground with regards to curriculum and learning.” Id. See also

Exh. 6 at ¶ 8 (“In my expert opinion, immediate action is necessary to address the evaluation delays

in Austin ISD to stop the harm impacting the students that cannot be fully addressed through

compensatory education. Furthermore, not taking prompt action will lead to irreparable and

irreversible harm for students because they are not receiving supports they deserve and need.”).

        Dr. O’Bleness states that students with delayed evaluations and services “are missing out on

opportunities to learn, experiencing a lack of school and peer connection, and likely deteriorating

from the stress and lack of supports due to neglect of the school system.” Dr. Hahn avers that

without evaluations, “the children will continue to get further behind, thus widening the gap. The

further behind a child gets, the stronger the chances secondary issues will arise and create more

problems for the child, the family and the school district. A missed year of direct instruction to

address a child’s specific needs cannot be made up. The gap will continue to increase.” Exh. 8 at ¶

13.

        Plaintiffs’ requested injunction would work towards preventing these continuing injuries as

quickly as possible. First, requiring Austin ISD to utilize, on an expedited basis, not only its very

limited staff of licensed employees but also all qualified contractors and evaluators would expand

the number of individuals that can perform the evaluations on Austin ISD’s behalf. Austin ISD

currently has a drastic shortage of employees available to perform evaluations, which is part of what

has led to the current backlog. Second, some children have already received outside psychological

assessments that have concluded that the children are eligible for special education services. On

information and belief, Austin ISD’s current policy is to only accept the evaluations performed on

Plaintiffs’ Motion for Preliminary Injunction                                                      8
8093352v1/017135
          Case 1:21-cv-00279-LY Document 14 Filed 04/23/21 Page 9 of 12



behalf of Austin ISD. As a preliminary measure, Austin ISD should be required to recognize these

outside assessments and provide services under them until Austin ISD completes its own

evaluations. Third, the contracts of school psychologists who are employed or contracted to perform

the special education evaluations for Austin ISD typically go through the school year and are not

guaranteed over the summer during school breaks. Austin ISD should be required to continue all of

those contracts over the summer to work through the backlog of evaluations as quickly as possible.

Fourth, requiring the expedited meeting of ARD Committees to review the evaluations and

determine eligibility will enable students to receive the services to which they are entitled. Both Dr.

Hahn and Dr. O’Bleness state that the requested relief will reduce the likelihood of additional harm

to the plaintiffs and many students with disabilities in Austin ISD with delayed evaluations. Exh. 6

at ¶ 19; Exh. 8 at ¶ 15. Enjoining Austin ISD from its continued violations through the above steps

will help ensure that the children are evaluated and can begin to receive special education services

as quickly as possible.

        C. There is No Adequate Remedy at Law

        There is no adequate remedy at law that would satisfy Plaintiffs’ injuries. While Plaintiffs

can attempt to prevent Austin ISD from violating the IDEA and Section 504 in the future through

final judgment at a merits trial, the law does not provide a remedy that is adequate for the children

whose initial evaluations have gone past the legally required timeline. As described above,

compensatory special educations services are not an adequate substitute for receiving those services

at the time that they should have been provided, an on-going injury. As Dr. O’Bleness stated, the

harmful consequences caused by the neglect of Austin ISD “cannot be resolved unless immediate

action is taken by alleviating the trauma and adding appropriate supports and services.” Exh. 6 at ¶

16.

        D. Plaintiffs’ Injuries Outweigh any Injury to Defendant Austin ISD

Plaintiffs’ Motion for Preliminary Injunction                                                       9
8093352v1/017135
          Case 1:21-cv-00279-LY Document 14 Filed 04/23/21 Page 10 of 12



        As described above, the Plaintiffs have been, and continue to be, injured by Austin ISD’s

failure to perform initial evaluations within the legally required timelines. The requested injunction

would provide virtually no meaningful injury to Austin ISD, since it is required to comply with the

IDEA and Section 504 under federal law.

        E. Public Policy and Public Interest Weigh Heavily in Favor of Injunctive Relief

        The Plaintiffs’ requested injunctive relief would not adversely affect public policy or public

interest. Instead, the opposite is true: the requested injunctive relief is consistent with the public

policy of providing special education services as part of the free and appropriate public education

that the United States guarantees to all children, and it is in the public interest to ensure Austin ISD’s

compliance with the IDEA and Section 504.

                            III.    Plaintiffs are Willing to Post a Bond

        As required by federal law, Plaintiffs are willing to post a bond in support of their requested

injunction. However, Plaintiffs request that the Court not require a bond or require only a nominal

bond. Plaintiffs are engaged in public interest litigation, seeking Austin ISD’s compliance with

federal statutes to provide special education services to children. As discussed above, Plaintiffs will

likely succeed based on the strength of their case. Austin ISD does not risk any harm in complying

with the injunction, since it is required under federal law to follow the IDEA and Section 504. The

individual plaintiffs are minors represented by and through their next friends and parents, and

Disability Rights Texas is an independent, private, non-profit agency, created by federal law and

designated by the Governor of Texas as the federal protection and advocacy system for Texas.


                                       IV.     Prayer for Relief

        WHEREFORE, Plaintiffs respectfully request that a preliminary judgment be entered

against Defendant Austin ISD:



Plaintiffs’ Motion for Preliminary Injunction                                                        10
8093352v1/017135
           Case 1:21-cv-00279-LY Document 14 Filed 04/23/21 Page 11 of 12



          1.       Enjoining Austin ISD from promulgating and implementing policies, procedures,
                   and practices in violation of the IDEA and Section 504, including:

               a. Requiring Austin ISD to provide expedited special education evaluations for all
                  children with currently delayed initial evaluations utilizing existing staff, all
                  qualified contractors, and all qualified evaluators that conduct independent
                  educational evaluations (IEEs) at the expense of Austin ISD;

               b. Requiring Austin ISD to direct its Admission, Review, and Dismissal Committees
                  (“ARD Committees”) to determine that outside psychological assessments finding
                  students eligible for special education services must be accepted for purposes of
                  beginning services until such time that Austin ISD is able to conduct its own
                  assessment;

               c. Requiring Austin ISD to continue the contracts of school psychologists employed
                  or contracted by Austin ISD through the summer as needed to work on overdue
                  evaluations; and.

               d. Requiring Austin ISD to hold expedited ARD Committee Meetings within 15
                  calendar days of completion of initial evaluations to determine eligibility and
                  develop IEPs.

Plaintiffs also request such other and further relief as the Court may deem just, equitable, and

proper.


                                                       Respectfully submitted,

                                                       /s/ David M. Peterson
                                                       David M. Peterson
                                                       Attorney-in-charge
                                                       Texas Bar No. 24056123
                                                       Email: dpeterson@susmangodfrey.com
                                                       Neal S. Manne
                                                       Texas Bar No. 12937980
                                                       Email: nmanne@susmangodfrey.com
                                                       SUSMAN GODFREY L.L.P.
                                                       1000 Louisiana Street, Suite 5100
                                                       Houston, Texas 77002
                                                       (713) 653-7873 (phone)
                                                       (713) 654-6666 (fax)

                                                       Dustin Rynders
                                                       Admitted pro hac vice
                                                       Texas Bar No. 24048005
                                                       Email: drynders@drtx.org
                                                       DISABILITY RIGHTS TEXAS


Plaintiffs’ Motion for Preliminary Injunction                                                   11
8093352v1/017135
          Case 1:21-cv-00279-LY Document 14 Filed 04/23/21 Page 12 of 12



                                                     1500 McGowen, Suite 100
                                                     Houston, Texas 77004
                                                     (713) 974-7691 (phone)
                                                     (713) 974-7695 (fax)

                                                     L. Kym Davis Rogers
                                                     Texas Bar No. 00796442
                                                     Email: krogers@drtx.org
                                                     DISABILITY RIGHTS TEXAS
                                                     1420 W. Mockingbird Lane, Suite 450
                                                     Dallas, Texas 75247
                                                     (214) 845-4045 (phone)
                                                     (214) 630-3472 (fax)

                                                     Counsel for Plaintiffs



                                   CERTIFICATE OF SERVICE

        On April 23, 2021, counsel for plaintiffs conferred with counsel for defendants regarding

the foregoing Plaintiffs’ Motion for Preliminary Injunction. Counsel for defendants indicated that

they are opposed to this motion.


                                                     /s/ David M. Peterson
                                                     David M. Peterson



                                   CERTIFICATE OF SERVICE

        I hereby certify that on April 23, 2021, I caused the foregoing Plaintiffs’ Motion for

Preliminary Injunction to be served via the Electronic Case Filing (ECF) system in the United States

District Court for the Western District of Texas, on all parties registered for CM/ECF in the above-

captioned matter.


                                                     /s/ David M. Peterson
                                                     David M. Peterson




Plaintiffs’ Motion for Preliminary Injunction                                                  12
8093352v1/017135
